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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 ALEXANDRE ANSARI,
                                              Case No. 2:20-cv-10719
             Plaintiff,
                                              HONORABLE STEPHEN J. MURPHY, III
 v.

 MOISES JIMENEZ,

             Defendant.
                                 /

                         ORDER GRANTING IN PART
                      MOTION FOR ATTORNEY’S FEES [184]

      A jury found that Defendant Moises Jimenez violated Plaintiff Alexandre

Ansari’s Fourteenth Amendment right to due process. ECF 162, PgID 3743–44.

Plaintiff moved for attorney’s fees, costs, and prejudgment interest. ECF 184.

Defendant opposed the motion. ECF 185. For the reasons below, the Court will grant

the motion in part.

                                 BACKGROUND

      In the interest of judicial economy, the Court will incorporate by reference the

background section in its previous Order Denying Motions for New Trial and

Judgment as a Matter of Law. ECF 189, PgID 5512–14.

                               LEGAL STANDARD

      Under 42 U.S.C. § 1988, the Court, in its discretion, may allow the prevailing

party in a § 1983 action reasonable attorney’s fees as part of the costs. § 1988(b).

When fees are merited, “[t]he Supreme Court has made it clear that the lodestar



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method of fee calculation is the method by which federal courts should determine

reasonable attorney’s fees under federal statutes which provide for such fees.” In re

Boddy, 950 F.2d 334, 337 (6th Cir. 1991) (citations omitted). The lodestar method

requires the Court to “multiply[] the attorney’s reasonable hourly rate by the number

of hours reasonably expended.” Id. (quoting Grant v. George Schumann Tire &

Battery Co., 908 F.2d 874, 879 (11th Cir. 1990)).

      When considering attorney’s fees, the “primary concern is that the fee awarded

be reasonable.” A reasonable fee is ‘adequately compensatory to attract competent

counsel yet . . . avoids producing a windfall for lawyers.’” Gonter v. Hunt Valve Co.,

510 F.3d 610, 616 (6th Cir. 2007) (quoting Reed v. Rhodes, 179 F.3d 453, 471 (6th Cir.

1999) and Geier v. Sundquist, 372 F.3d 784, 791 (6th Cir. 2004)) (emphasis and

internal citation omitted). The Court possesses substantial discretion to award fees,

but “must provide a clear and concise explanation of its reasons for the fee award.”

Adcock-Ladd v. Sec’y of Treasury, 227 F.3d 343, 349 (6th Cir. 2000) (quotation

omitted).

                                    DISCUSSION

      Plaintiff moved for attorney’s fees, costs, and prejudgment interest. ECF 184.

Defendant opposed the motion. ECF 185. For the reasons below, the Court will grant

Plaintiff reasonable attorney’s fees and costs but will not grant Plaintiff’s request for

prejudgment interest.




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I.    Attorney’s Fees

      Despite Defendant’s argument to the contrary, see ECF 185, PgID 5444,

Plaintiff is the prevailing party and is entitled to fees under 42 U.S.C. § 1988(b). To

be a “prevailing party” under § 1988, a plaintiff must receive “at least some relief on

the merits his claim[s].” Hewitt v. Helms, 482 U.S. 755, 760 (1987). Here, a jury

awarded Plaintiff $10 million on his Fourteenth Amendment due process claim. ECF

162. This substantial award certainly qualified as “some relief” on the merits.

      Moreover, although the statute states that a district court “may” award fees,

precedent dictates that in the absence of special circumstances, a district court must

award fees to prevailing plaintiffs. Wikol ex rel. Wikol v. Birmingham Pub. Schs. Bd.

of Educ., 360 F.3d 604, 611 (6th Cir. 2004); see also Blanchard v. Bergeron, 489 U.S.

87, 89 n.1 (1989) (“The prevailing party ‘should ordinarily recover an attorney’s fee

unless special circumstances would render such an award unjust.’”) (quotation

omitted).

      Because Plaintiff is entitled to attorney’s fees, the Court will apply the lodestar

method to determine a reasonable fee award. See Gonter, 510 F.3d at 616. Plaintiff

requested an hourly rate of $1,000 for 1,021.1 hours of work, yielding a total award

of $1,021,100. The Court carefully reviewed the submitted billing records, ECF 184-

4, and comparable rates, ECF 184-7, and will award attorney’s fees according to the

reasoning below.

      Generally, the billing records provided by counsel sufficiently detailed

descriptions of the work completed. Counsels’ described tasks were reasonable, and



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the amount of time spent on each task was reasonable as well. See generally ECF

184-4. But between the two trials—the first of which resulted in a mistrial—

Plaintiff’s counsel block billed1 more than 300 hours for trial-related work and used

vague descriptions like “trial prep.” Id. at 5368–71, 5386–89, 5392–96.2 The Court

cannot ascertain the reasonableness of the tasks undertaken or the time spent on

those tasks based on such a vague description. Howe v. City of Akron, 705 F. App’x

376, 383 (noting that, although block billing is not per se prohibited, “if counsel’s block

billing relies on inadequate descriptions of the work performed, the district court may

reduce the award accordingly.”).

      Indeed, Plaintiff’s counsel provided plenty of detailed billing for trial

preparation in addition to the block-billed time. See generally ECF 184-4, PgID 5388–

94. For example, more detailed descriptions show that counsel billed for reviewing

Defendant’s drafted jury instructions and for preparing objections. Id. at 5393. But

without more detail, it is unclear what sort of additional “trial prep” counsel did for

more than three hundred hours and whether such an expenditure of time was

reasonable. For instance, on February 7, 2024 counsel billed fifteen hours for “[t]rial

and trial prep for next day.” That statement may be true, but the trial lasted for only

three and a half hours that day and no detail supported the entries. See ECF 168




1 Trial preparation typically includes multiple discrete activities. Because billing one

block of time under an umbrella term like “trial prep” obfuscates both which discrete
activities counsel performed and how much time was spent on each activity, the Court
views this practice as block billing.
2 This figure includes time billed using phrases like “[t]rial and trial prep for next

day” that goes well beyond the time of trial as reflected by the trial transcripts.
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(showing the proceedings commenced at 9:00 a.m. and finished at 1:33 p.m.). While

the Court appreciates that counsel had to arrive prior to proceedings, and likely did

a good deal of trial preparation, the vague description submitted does not allow the

Court to ascertain whether such preparation reasonably warrants the additional

eleven and a half hours billed that day. And issues of that sort permeate counsel’s

trial and trial preparation billing statements.

      Similarly, and more concerningly, counsel billed nine hours a day for five days

of “trial attendance” weeks after trial ended. Id. at 5396 (showing “trial attendance”

billed in mid-March 2024); ECF 163 (showing jury verdict returned February 16,

2024).3 And even assuming counsel meant for these entries to reflect attendance

during the trial in February, counsel already billed 8 to15 hours per day on the correct

trial dates as “trial” and trial preparation. ECF 184-4, PgID 5395–96. If the Court is

to accept both entries, counsel worked seventeen to twenty-four hours a day, each day

of trial. The Court questions, especially with such vague entries, whether counsel’s

billing accurately reflects the time spent in trial and preparing for trial. Rather, it

appears that counsel may be engaging in duplicative billing. And regardless, the

Court does not believe expenditures of time like those are reasonable.

      Considering the above deficiencies, the Court will apply a thirty-percent

reduction to the fee award. See Howe, 705 F. App’x at 383 (affirming the district

court’s thirty-five percent reduction of the entire fee award for billing deficiencies);



3 Counsel also billed three hours for trial preparation and six and a half hours for

expert witness preparation in March—after trial concluded. ECF 184-4, PgID 5396–
97.
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cf., Richard v. Caliber Home Loans, Inc., 832 F. App’x 940, 949 (6th Cir. 2020)

(affirming a more than eighty-percent reduction of the entire fee award for limited

success and serious billing deficiencies); see also Hudson v. Reno, 130 F.3d 1193, 1209

(6th Cir. 1997) (holding “the district court may take such duplication into account by

making a simple across-the-board reduction by a certain percentage.”). The Court

believes that reduction is appropriate given that the volume of “trial prep” hours

appears excessive, because it cannot ascertain the reasonableness of the expended

time based on the vague entries, and because it appears Plaintiff’s counsel engaged

in duplicative billing. Ultimately, the Court lacks confidence in the accuracy of the

over four-hundred hours of vaguely billed time. See Ohio Right to Life Soc., Inc. v.

Ohio Elections Comm’n, 590 F. App’x 597, 602–03 (6th Cir. 2014) (“It is the

responsibility of the prevailing party’s counsel to exclude from their fee request those

hours that are excessive, redundant, or otherwise unnecessary . . .           [and] to

adequately document its hours.”) (quotation omitted). The Court believes the thirty-

percent reduction is adequately calculated to address its concerns regarding double-

billing and the reasonableness of the time spent.

      Next, Plaintiff requested a rate of $1,000 per hour. Plaintiff argued that the

rate was reasonable given the nature of the case, the result achieved, the risk

undertaken by counsel, and counsel’s work experience. ECF 185, PgID 5346–49. The

Court disagrees that such a rate is reasonable. To be sure, the above considerations

justify a higher-than-average hourly rate, but they do not justify a rate of $1,000 per

hour. In Michigan, the 95th percentile rate for attorneys with more than thirty years



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of experience is $645 an hour. Id. at 5412. Similarly, the 95th percentile rate for civil-

rights work is $710 an hour. Id. at 5414. A reasonable rate therefore would be

between $645–710 per hour. The Court will award Plaintiff attorney’s fees at a rate

of $675 an hour. Applying the thirty percent reduction, Plaintiff is entitled to

$482,469.75 in attorney’s fees.

II.    Costs

       As the prevailing party, Plaintiff is entitled to costs. See Fed. R. Civ. P. 54(d)(1);

see also 28 U.S.C. § 1920. Plaintiff should submit his bill of costs no later than twenty-

eight days from the entry of the Order. See E.D. Mich. L.R. 54.1.

III.   Prejudgment Interest

       Plaintiff is not entitled to prejudgment interest. Prejudgment interest is

awardable at the discretion of the district court. E.E.O.C. v. Wooster Brush Co. Emps.

Relief Ass’n, 727 F.2d 566, 579 (6th Cir. 1984). In deciding whether a prejudgment

interest award is appropriate, the Court should consider factors such as: (1) the need

to fully compensate the wronged party for actual damages suffered; (2) considerations

of fairness and the relative equities of the award; (3) the remedial purpose of the

statute involved; and (4) such other general principles as are deemed relevant by the

court. Loesel v. City of Frankenmuth, 743 F. Supp. 2d 619, 648–49 (E.D. Mich. 2010).

       As a preliminary matter, Plaintiff argued that prejudgment interest should

ordinarily be granted “unless exceptional or unusual circumstances exist making the

award of interest inequitable.” ECF 184, PgID 5353 (quoting Laborers’ Pension Tr.

FundDetroit & Vicinity v. Fam. Cement Co., 677 F. Supp. 896, 898 (E.D. Mich. 1987)



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(citing Stroh Container Co. v. Delphi Indus., Inc., 783 F.2d 743, 752 (8th Cir. 1986)).

But Plaintiff’s authorities did not address an analogous context. The Court found no

authority that generally applied prejudgment interest to compensatory damages for

a § 1983 wrongful conviction, or other similar claims. Instead, prejudgment interest

is generally awarded as a matter of course in cases involving backpay, like in cases

for wrongful termination of employment. See, e.g., Pucci v. Somers, 834 F. Supp. 2d

690, 705 (E.D. Mich. 2011). In fact, in more similar cases, courts have denied

prejudgment interest and distinguished a general award of compensatory damages

from the award in employment discrimination cases. See e.g., Tanner v. Borthwell,

No. 07-14579, 2013 WL 1148411, at *2 (E.D. Mich. Mar. 19, 2013) (noting that “unlike

in an employment discrimination case,” “Defendants did not deprive [Plaintiff] of

money she would have otherwise had in the absence of their conduct.”). In sum,

Plaintiff did not support his contention that prejudgment interest must generally be

awarded in this context.

      Considering the factors above, Plaintiff is not entitled to prejudgment interest.

The verdict fully compensated Plaintiff for the damages suffered. See ECF 163

(awarding Plaintiff $6.5 million in past compensatory damages and $3.5 million for

future damages). The award is fair and equitable. Awarding prejudgment interest

would produce a windfall for Plaintiff. And the Court therefore will not award it.




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                                     ORDER

      WHEREFORE, it is hereby ORDERED that the motion for attorney’s fees,

costs, and prejudgment interest [184] is GRANTED IN PART and DENIED IN

PART in accordance with the above.

      IT IS FURTHER ORDERED that Plaintiff is AWARDED $482,469.75 in

attorney’s fees.

      IT IS FURTHER ORDERED that Plaintiff must SUBMIT his Bill of Costs

no later than twenty-eight days from the issuance of this Order.

      SO ORDERED.

                                     s/ Stephen J. Murphy, III
                                     STEPHEN J. MURPHY, III
                                     United States District Judge
Dated: October 10, 2024




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